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Case 2:08-cv-02351-GW-JC Document 1 Filed 04/09/08 Page1of13 Page ID#:1

FILED

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Kevin M. Zietz, Esq. - SBN 186244
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Encino, California 91436 che
Tel (818) 990-8300; Fax(818) 990-2903 GENS is. BisTRICT count

LOS ANGELES
Attorney for Plaintiff BY See te ee cnerane h eeh
ROBERT CHUBBUCK

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ROBERT CHUBBUCK, ne Co j A 8-01838 ABC Adly

Plaintiff, "
COMPLAINT FOR DAMAGES UNDER
Vv. THE EMPLOYEE RETIREMENT

SECURITY ACT [29 U.S.C. Section 1132]
LIFE INSURANCE COMPANY OF
NORTH AMERICA; LONG TERM
DISABILITY PLAN OF ARROW
ELECTRIC INC.; and DOES 1 to

Defendants.

Plaintiff ROBERT CHUBBUCK complains of defendants, LIFE INSURANCE
COMPANY OF NORTH AMERICA (hereinafter referred to as "LINA" or "defendant"),
and THE LONG TERM DISABILITY PLAN OF ARROW ELECTRONICS INC.,
(hereinafter referred to as "The Plan"), as follows:

JURISDICTION AND VENUE
l. This Court’s jurisdiction is invoked pursuant to 28 U.S.C. §§1331, 1337 and
29 U.S.C, §1132(a)(1), (e), (f), and (g), of the Employee Retirement Income Security Act |
of 1974, 29 U.S.C. §1101. et. seq. (hereafter ERISA) as it involves a claim by Plaintiff
for Long Term Disability Benefits under employee benefit plans regulated and governed
under ERISA. Jurisdiction is predicated under these code sections as well as 28 U.S.C.

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document 1 Filed 04/09/08 . Page 2 of 13 Page ID #:2

§1331 as this actions involves a federal question.

2. The events or omissions giving rise to Plaintiffs claim occurred in this
judicial district, thus venue is proper here pursuant to 28 U.S.C. §1391(b)(2), and the ends
of justice require it.

3. The ERISA statute at 29 U.S.C. §1133, in accordance with Regulations of the
Secretary of Labor, provides a mechanism for internal appeal of benefit denials. Those
avenues of appeal have been exhausted.

4. Plaintiff's exhausted the appeal process on February 15, 2008, at which time
he was informed by LINA that his claim for long term disability had been denied and that
he has a right to bring legal action regarding his claim under ERISA section 502(a).

GENERAL ALLEGATIONS

5. Plaintiff is informed and believes and thereon alleges that The Plan is an
employee welfare benefits plan established and maintained by Plaintiffs employer, Arrow
Electronics Inc., to provide its employees with group long term disability insurance, to pay
a portion of a covered employee’s income while they have a long period of disability.

6. The Plan can be sued as an entity pursuant to 29 U.S.C. §1132(d)(1).

7. Plaintiff is an individual citizen and resident of the State of California,
County of Los Angeles, residing within the Central District of the State of California.

8. Plaintiff is informed and believes and based upon such information and belief
alleges that at all times material hereto, The Plan is an employee welfare benefit plans as
defined by ERISA.

9. At all times material hereto, Plaintiff's employer provided group long term
disability benefits to its employees and their dependents, through The Plan. LINA was
the Claims Administrator of The Plan at all times material hereto. Pursuant to The Plan,
LINA was contractually obligated to pay benefits for claims covered by The Plan.

10. Defendants participated in the processing of Plaintiffs claim for benefits
under The Plan, which form the subject matter of this lawsuit.

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

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11. Atalltimes relevant hereto, Plaintiff was employed by Arrow Electronics Inc.,
and was and is a participant and beneficiary of The Plan. Plaintiff became totally disabled
while in the employment of Arrow Electronics, Inc., and was, therefore, entitled to long
term disability benefits pursuant to provisions of The Plan.

12. Tobeeligible to receive benefits under The Plan, which provides benefits for
a maximum period up to age 65, covered employees must meet the following definition of
“Disability”:

“An Employee is Disabled if, because of Injury or Sickness,

1. he or she is unable to perform all the material duties of his or her regular
occupation, or solely due to Injury or Sickness, he or she is unable to earn
more than 80% of his or her Indexed Covered Earnings; and

2. after the Disability Benefits have been payable for 24 months, he or she is
unable to perform all the material duties of any occupation for which he or
she reasonably become qualified based on education, training or experienced,
or solely due to Injury or Sickness, he or she is unable to earn more than 80%
of his or her Indexed Covered Earnings.”

13. Count One of the Complaint herein arises out of the deprivation by defendants
of the rights secured to plaintiff under the Employee Welfare Benefit Plans heretofore
described.

14. | The true names and capacities, whether individual, corporate, partnership or
otherwise of defendants, DOES 1 through §0, inclusive are unknown to plaintiff, who
therefore sues said defendants by such fictitious names. Plaintiff will seek leave to amend
this Complaint when the true names and capacities have been ascertained. Plaintiff is
informed and believes and thereon alleges that each of the DOE defendants is the agent,
servant and employee of each of their co-defendants, and was acting within the course and
scope of said agency and employment and with the knowledge and consent of their
principal and employer; and was and is responsible in some manner for the events and

happenings herein alleged.

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document1 Filed 04/09/08 Page 4of13 Page ID #:4

COUNT ONE
(For Damages and Benefits Pursuant to 29 U.S.C. Section 1132)

15. Plaintiffhereby realleges and incorporates paragraphs | through 14 as iffully
set forth herein.

16. Plaintiff was employed as a Business Analyst at the time of his disability. His
occupation involved building and maintaining an electronic component parametric
database and cross-reference. Plaintiff was responsible for creating a database which was
capable of being accessed by all of the company’s sales divisions and customers that paid
for the database service. The job was highly technical and required extensive use of a
computer to utilize Microsoft Excel (spread sheet) and Microsoft Access (database
builder). Plaintiff's job required extensive data entry into a computer and constant
research.

17. On or about February 4, 2005, plaintiff suffered a cerebrovascular accident
(stroke) which has caused left sided hemiplegia’. Plaintiff went out of work on February
6, 2006, and has not returned to work since.

18. Plaintiff was hospitalized between February 4, 2006 and February 24, 2006
due to the suffered a cerebrovascular accident. Plaintiff underwent a course of inpatient
physical therapy and speech therapy.

19. Plaintiff is informed and believes that after the expiration of the 90-day
elimination period provided for in The Plan, LINA paid plaintiff long term disability
benefits between May 7, 2006 and April 6, 2007.

20. Plaintiff is informed and believes that in response to inquiries by LINA in
early 2007, Dr. Etehad continued to indicate that plaintiffs restrictions and limitations
were that he remained hemiplegic and was unable to work.

21.  Onor about May 10, 2007, plaintiff was notified that LINA was unable to

approve his claim for benefits because LINA had determined that he no longer met the

+ Paralysis affecting one side of the body.
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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document 1 Filed 04/09/08 Page5of13 Page ID#:5

definition of disability set forth in The Plan.

22, Onor about October 12, 2007, plaintiff submitted an appeal to LINA which
included a letter from Siamak P. Etehad, M.D., who explained that plaintiffhad been under
his care since the cerebrovascular accident. Dr. Etehad explained:

“[Plaintiff] continues from February, 2006 to present o have left sided.

hemiplegia which effects his left side. [Plaintiff] cannot walk on his own

without the assistance of a cane because his left side is paralyzed, he also

cannot write or use the computer because his left hand is paralyzed...

Due to [Plaintiffs] medical condition he can no longer perform his normal
duties as a Business Analyst because of his chronic fatigue which does not

allow him to concentrate for any long periods of time...

Due to [Plaintiff's] cerebral vascular accident it is impossible for him to

return to his former career.”

23. Onor about December 18-20, 2007, plaintiff underwent a Functional
Capacity Evaluation (FCE) to determine if he was able to return to work as a Business
Analyst, the results of which were submitted to LINA by plaintiff as part of his appeal.

24, The “Formal Conclusion” of the FCE was stated by the evaluator as follows:

“During his attendance, the client demonstrated non-competitive physical

tolerance for semi-sedentary or sedentary type occupations...

.. the client provided the evaluator with a brief summary of job duties
required by his position as Business Analyst. Based upon the information and
the client’s demonstrated physical tolerances, productivity and attendance, it
is this vocational evaluator’s opinion, that at this time the client did not
demonstrate the necessary physical tolerances, stamina and endurance that

would be required for the job.”

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COMPLAINT FOR DAMAGES UNDER TEE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document 1 Filed 04/09/08 Page 6of13 Page ID #:6

25. Plaintiff has timely presented to defendants with all of the necessary claim
forms, medical documentation, and vocational analysis, and furnished defendants with
said documents to process and continue to pay Plaintiff's long term disability claim.

26. LINA has refused to pay plaintiff his long term disability benefits, notifying
plaintiff on February 15, 2008 that a determination had been made after reviewing
plaintiff’ s appeal that the medical evidence did not support plaintiff's inability to perform
his occupation as a Business Analyst.

27. Plaintiff is informed and believes that LINA was acting both as the funding
source of The Plan and the claim administrator when it denied plaintiff's claim. The
conflict of interest gave it incentive to stop paying plaintifflong term disability payments.
This conflict will be a factor in determining the proper standard of review, ifan issue, and
whether LINA abused its discretion in the event the Court applies an Abuse of Discretion
standard.

28. Plaintiff alleges that LINA refused to pay these benefits by wrongfully
contending that Plaintiff does not meet the definition of disability in the plan. The
decision by LINA was arbitrary and capricious and not based upon any sound or
reasonable medical evidence or vocational analysis. LINA did not conduct a full and fair
review of the decision to deny benefits to Plaintiff as required by 29 U.S.C. 1133(2).
Before finally denying Plaintiffs claim for benefits on February 15, 2008, LINA did not
conduct any vocational analysis, and failed to give consideration to the medical evidence
indicating that plaintiff has restrictions and limitations due left sided hemiplegia, fatigue,
and inability to concentrate. Furthermore, Prudential did not give proper weight to the
Social Security Administration’s finding that Plaintiff was disabled form any occupation.

29. Plaintiff claims that The Plan provides for a de novo review, and that the
weight of the evidence will support a determination by the Court that plaintiff has
continued to meet the definition of disability from April 2007 to the present and
continuing.

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

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30. For all the reasons set forth above, the decision to deny benefits was arbitrary,
capricious, wrongful, unreasonable, irrational, sorely contrary to the evidence, contrary to
the terms of The Plan, and contrary to law. Clearly, LINA abused its discretion in deciding
to deny this claim as the evidence shows that the denial decision was arbitrary and
capricious. Furthermore, not only does LINA’S denial decision fail under the strictest
“abuse of discretion” standard of review, the denial decision fails under the “de novo”
standard of review.

31. Plaintiff's monthly long term disability benefit is in the amount of $3,670, less
appropriate offsets.

32. Asa direct and proximate result of the defendants' wrongful denial of the
claims of plaintiff, plaintiff contends that defendants have breached their contract and
plaintiffhas thereby been damaged. Pursuant to 29 U.S.C. Section 1132(a)(1)(B), plaintiff
is entitled to long term disability benefits between April 6, 2006 and the present, in the
amount of $3,670 per month, less appropriate offsets.

33. Asa further direct and proximate result of the denial of benefits as aforesaid,
and due to the arbitrary and capricious conduct of defendants plaintiff has to engage the
services of attorneys to assist her in recovering benefits due her under the terms of the
PLAN. Accordingly, plaintiffis further entitled to reasonable attorney's fees in an amount
according to proof pursuant to 29 U.S.C. Section 1132(g)(1).

WHEREFORE, plaintiff demands judgment against defendants, and each of them,
as follows:

l. Damages for breach of contract pursuant to 29 U.S.C. Section 1132(a}(1)(B),
for long term disability benefits between April 6, 2006 and the present, in the amount of
$3,670 per month, less appropriate offsets;

2. An order determining that Plaintiff is entitled to future payments so long as
he remains disabled as defined in The Long Term Plan;

3. Interest on said amounts in accordance with law;
VA

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document 1 Filed 04/09/08 Page 8 of 13 Page ID #:8

4. For reasonable attorney's fees and costs in a sum according to proof, pursuant
to 20 U.S.C. Section 1132(g)(1);
>. For such other and further relief as the Court in its discretion may deem just

and proper pursuant to 29 U.S.C. Section 1132, including punitive and extra contractual
benefits as may be available under any other applicable ERISA provision heretofore or
hereinafter enacted by Congress or authorized by law.
DATED: March 13, 2008

KINGSLEY & KINGSLEY, APC

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COMPLAINT FOR DAMAGES UNDER THE EMPLOYEE RETIREMENT SECURITY ACT

Case 2:08-cv-02351-GW-JC Document1 Filed 04/09/08 Page 9 o0f13 Page ID #:9

KEVIN M. ZIETZ, ESQ. - SBN 186244
KINGSLEY & KINGSLEY, APC

16133 VENTURA BLVD., SUITE 1200
ENCINO, CA 91436

(818) 990-8300, FAX (818) 990-2903

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ROBERT CHUBBUCK

Plaintiff(s)
V.

LIFE INSURANCE COMPANY OF NORTH AMERICA;
LONG TERM DISABILITY PLAN OF ARROW ELECTRIC
INC.; and DOES 1 to (0, Inclusive,

Defendant(s)

“UVO8- 018358 ABCAyy

SUMMONS

TO: THE ABOVE-NAMED DEFENDANT(S):

YOU ARE HEREBY SUMMONED and required to file with this court and serve upon plaintiff's attorney

, whose address is:

KEVIN M. ZIETZ

KINGSLEY & KINGSLEY, APC

16133 VENTURA BLVD., SUITE 1200
ENCINO, CA 91436

(818) 990-8300

an answer to the LX] complaint [_]

amended complaint {|__| counterclaim |__] cross-

claim which is herewith served upon you within 20

days after service of this Summons upon you, exclusive

of the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded

in the complaint.

Date:
WAR 18 sng

CLERK, U.S. DISTRICT COURT

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Deputy Clerk S

{Seal of the Court)

SUMMONS

CV-1A (01/01)

CCD-1A

Case 2:08-cv-02351-GW-JC Document1 Filed 04/09/08 Page 100f13 Page ID #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Audrey B. Collins and the assigned
discovery Magistrate Judge is Andrew J. Wistrich.

The case number on all documents filed with the Court should read as follows:

cv08- 1838 ABC (AJWx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ail defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Lj Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/068) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

& oS

UNITED STATL. DISTRICT COURT, CENTRAL DISTRICT OF — ALIFORNIA
CIVIL COVER SHEET

1 (@) PLAINTIFFS (check box if yu are representing yourself (__| )

ROBERT CHUBBUCK

(1) county of Residence of First Listed Plaintiff (Except in U.S. Plaintiff Cases); LOS

ANGELES COUNTY

Case 2:08-cv-02351-GW-JC Document1 Filed 04/09/08 Page 110f13 Page ID #:11

DEFENDANTS
LIFE INSURANCE COMPANY OF NORTH AMERICA;
LONG TERM DISABILITY PLAN OF ARROW
ELECTRIC INC.; and DOES 1 to §0, Inclusive,

County of Residence of First Listed Defendant (In U.S. Plaintiff Cases Only):

(c) Altomeys (Firm Name, Address and Telephone Number. If you are representing yourself,

provide same.}

KEVIN M. ZIETZ, ESQ. - SBN 186244
KINGSLEY & KINGSLEY, APC
16133 VENTURA BLVD., SUITE 1200

ENCINO, CA 91436

(818) 990-8300, FAX (818) 990-2903

Attorneys (lf Known)

BASIS OF JURISDICTION Piace an X in one box only.)

CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only

(Placa an X in one box for plaintiff and one for defendant.}

PTF DEF PTF DEF
[_] 1 U.S. Government Plaintiff [2X] 3 Federal Question Citizen of This State [1] 1 [711 incorporated or PrincipalPlace [Ja [14
(U.S. Government Not a Party) of Business in this State
[<1] 2 US. Government Defendant [7] 4 Diversity (Indicate Citizenship of | “itzen of Another State [_] 2 |] 2 Incorporated and Principal Place [_] 6 [_]6
Partles in Hem Ill) of Business in Another State
Citizen or Subjectofa [_] 3 [733 Foreign Nation Lie Cds
Foreign Country
IV. ORIGIN (piace an X in one box only.)
CX} 1 Onginat © [] 2 Removed from [_] 3 Remanded from [_] 4 Reinstatedor [_1 5 Transferred from [7] 6 Multi-District [] 7 Appeat to District
Proceeding State Court Appellate Court Reopened another district Litigation Judge from Magistrate
(specify): Judge
V. REQUESTED IN COMPLAINT: JURY DEMAND: [_] ves [%] no (Check ‘Yes' only if demanded in complaint.}
EIN EXCESS OF

CLASS ACTION under F.R.C.P, 23: [| yes EX] no

[x] MONEY DEMANDED IN COMPLAINT: $ 75.000

VE CAUSE OF ACTION

(Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause, Do not cite jurisdictional statutes unless diversity.)

Damages and Benefits Pursuant to 29 USC §1132 of the Employee Retirement Income Security Act of 1974.

Vil.

[}400 State
Reapportionment
[_] 410 Antitrust
430 Banks and Banking
450 Commerce/ICC Rates/etc.
[| 460 Deportation
f_] 470 Racketeer Influenced and
Corrupt Organizations
{] 480 Consumer Credit
[J 490 Cable/Sat TY
CJ 810 Selective Service
{__] 850 Securities/Commodities!
Exchange
[1] 875 Customer Challenge

12 USC 3410
[_] 890 Other Statutory

Actions
(_] 891 Agricultural Act
[] 892 Economic Stabilization

NATURE OF SUIT (Place an X in one box only.)

[7 410 insurance

L_] 120 Marine

[1430 Miller Act

[_]440 Negotiable Instrument

[J 150 Recovery of Overpayment
& Enforcement of
Judgment

[77] 151 Medicare Act

[| 152 Recovery of Defaulted
Student Loan
(Excl. Veterans}

(__]183 Recovery of Overpayment
of Veteran's Benefits

L__] 160 Stockholders' Suits

[_] 190 Other Contract

(__} 195 Contract Product Liability

7196 Franchise

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“tL_] 365

[_] 316 Airplane

(_] 315 Airplane Product
Liability

{"]320 Assault, Libel &

Slander
[1330 Fed. Employers'
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Liability
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Marine

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Liability
Motor Vehicle
Motor Vehicle
Product Liability
(J 360 Other Personal
Injury
(__] 362 Personal Injury-
Med Malpractice

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(1370 Other Fraud
{4371 Truth in Lending
["_} 380 Other Personal
Property Damage
[__] 385 Property Damage
Product Liability

[__]422 Appeal 28 USC
158

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Other [_] 790 Other Labor Litig.
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Condition

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otin Mian hee SB
9 [1 620 Other Food & RESOEIAIES!
[| 442 Employment Drug [_} 861 HIA (139581)

[“] 443 Housing/Acco-

[_] 625 Drug Related

[__]862 Black Lung (923)

& - ” Personal Injury- mmodations Seizure of [_] 863 DIwe/DIWy
[J] 609 Environmental Matters |= 210 Land Condemnation Product Liabilty |{_] 444 Welfare USE Bet Sib rile XVI
C1 so4 Energy Allocation Act [} 220 Foreclosure [7] 368 Asbestos Personal f_] 445 American with CJ 1 {]864 SSID Title
co [7] 230 Rent Lease & Ejectment Injury Product Disabitities - 630 Liquor Laws |(__]865 RSI (405(g)}

895 Freedom of Info. Act Liability Employment (__] 40 RLR. & Truck Heh S|
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900 Appeal of Fee Determina- [__| 240 Torts to Land a (_1 446 American with [__] 880 Airline Regs
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tion Under Equal [__] 245 Tort Product Liability Disabitities - [_] 660 Occupationat Plaintiff or
J Access to Justice [~} 290 All Other Real Property Other Safety/Health Defendant)
850 Sone eee of [J 440 Other Civil 7 690 Other [1871 IRS - Third Party
ate utes Rights 26 USC 7609
VIll{a}. IDENTICAL CASES: Has this action been previously filed and dismissed, remanded or closed? LX] No [_] Yes
If yes, list case number(s):
ONLY:
PAA CIVIL COVER SHEET Page 1 of 2

CCD-J844

., Case 2:08- “CVE 02 3o 1. GW-JC Document 1 Filed 04/09/08 Pag iro
ITED STA’, DISTRICT COURT, CENTRAL DISTRICT OF

CIVIL COVER SHEET
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

ah of 13 Page ID #:12

Vil(b), RELATED CASES: Have any cases been previously filed that are related to the present case? No [__| Yes

If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:

(Check al! boxes that apply) [__]A. Arise from the same or closely related transactions, happenings, or events; or
[___ |B. Gall for determination of the same or substantially related or similar questions of law and fact; or
[| G. For other reasons would entail substantial duplication of labor if heard by different judges; or

[__]D. involve the same patent, trademark or copyright, and one of the factors identified above
in a, b orc also is present.

IX. VENUE: List the California County, or State if other than California, in which EACH named plaintiff resides (Use an additional sheet if necessary)

[ ] Check here if the U.S. government, its agencies or employees is a named plaintiff.
ROBERT CHUBBUCK, LOS ANGELES COUNTY, STATE OF CALIFORNIA

List the California County, or State if other than California, in which EACH named defendant resides. ‘Use an additional sheet if necessary).

{| Check here if the U.S. government, its agencies or employees is a named defendant.
LIFE INSURANCE COMPANY OF NORTH AMERICA, PENNSYLVANIA
LONG TERM DISABILITY PLAN OF ARROW ELECTRIC, INC, LOS ANGELES, STATE OF CALIFORNIA

List the California County, or State if other than California, in which EACH claim arose. (Use an additional sheet if necessary)
Note: In land condemnation cases, use the location of the tract of land involved.

LOS ANGELES COUNTY, STATE OF CALIFORNIA

: Li . am
X. SIGNATURE OF ATTORNEY (OR PRO PER): [LWW AP Date 3/13/08
KEVIN M. ZIETZ
Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the
filing and service of pleadings or other papers as required by law. This form, approved by the Judicial Conference of the United States in
September 1974, is required pursuant to Local Rule 3-1 is not filed but is used by the Clerk of the Court for the purpose of statistics, venue
and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation _ Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social
Security Act, as amended. Also, include claims by hospitals, skilled nursing facilities, etc., for
certification as providers of services under the program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health
and Safety Act of 1969. (30 U.S.C. 923)

863 DIWG All claims filed by insured workers for disability insurance benefits under Title 2 of the Social
Security Act, as amended; plus all claims filed for child's insurance benefits based on
disability. (42 U.S.C. 405(g)}

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of
the Social Security Act, as amended. (42 U.S.C. 405(q)}

864 SSID All claims for supplemental security income payments based upon disability filed under Title
16 of the Social Security Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security
Act, as amended, (42 U.S.C. (g)}

CV-71 (07/05) CIVIL COVER SHEET Page 2 of 2

Case 2:08-cv-02351-GW-JC Document1 Filed 04/09/08 Page 13 of 13 Page ID #:13

NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) FOR, OR, PLAINTIFF . F [LED
OR DEFENDANT IF PLAINTIFF OR DEFENDANT IS PRO PER
KEVIN M. ZIETZ, ESQ. - SBN 186244
KINGSLEY & KINGSLEY, APC

16133 VENTURA BLVD., SUITE 1200 PONBHAR 18 PH 3ST
ENCINO, CA 91436 .

errict COURT
(818) 990-8300, FAX (818) 990-2903 CLERK U.S. OTR ATE

VEST RAL DIST. Vrs
ATrorNeys For: PLAINTIFF, ROBERT CHUBBUCK.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ROBERT CHUBBUCK
q ase
ADV:
¥v. Plaintifi(s),
LIFE INSURANCE COMPANY OF NORTH AMERICA: CERTIFICATION AND NOTICE
LONG TERM DISABILITY PLAN OF ARROW ELECTRIC OF INTERESTED PARTIES
INC.; and DOES | to §0, Inclusive, Defendant(s) (Local Rule 7.1-1)

TO: THE COURT AND ALL PARTIES APPEARING OF RECORD:

The undersigned, counsel of record for Plaintiff, ROBERT CHUBBUCK

(or party appearing in pro per), certifies that the following listed party (or parties) has (have) a direct, pecuniary interest
in the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification or
recusal. (Use additional sheet if necessary.)

PARTY CONNECTION
(List the names of all such parties and identify their connection and interest.)
ROBERT CHUBBUCK, PLAINTIFF
LIFE INSURANCE COMPANY OF NORTH AMERICA DEFENDANT

LONG TERM DISABILITY PLAN OF ARROW ELECTRICT, INC. |. DEFENDANT

March 13, 2008 Lal

Date Sign
KEVIN M. ZIETZ, .~ SBN 186244

Attorney of record for or party appearing in pro per

CV-30 (12/03) NOTICE OF INTERESTED PARTIES ccDcVv30

